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                            UNITED STATE DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION
GlobeRanger Corporation,                       §
                                               §
                   Plaintiff,                  §
                                               §
v.                                             §             No. 3:11-cv-00403-B
                                               §
Software AG USA, Inc., Software AG,            §
Inc., and Naniq Systems, LLC,                  §
                                               §
                   Defendants.                 §

     STIPULATION OF DISMISSAL OF DEFENDANT NANIQ SYSTEMS, LLC
        Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff GlobeRanger

Corporation; Defendants Software AG USA, Inc. and Software AG, Inc.; and Defendant

Naniq Systems, LLC, through its representative Kim Gray, hereby stipulate to

GlobeRanger’s voluntary dismissal of its claims against Naniq Systems, LLC.

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DATED: February 4, 2015.                   Respectfully submitted

Respectfully submitted,



/s/ David D. Shank
Ophelia F. Camiña                             Kimberly Gray
State Bar No. 03681500                        NANIQ SYSTEMS, LLC
David D. Shank                                Owner and Authorized Representative   of
State Bar No. 24075056                        Defendant Naniq Systems, LLC
SUSMAN GODFREY L.L.P.
901 Main Street, Suite 5100
Dallas, TX 75202
Phone: 214.754.1910
Fax: 214.754.1933
Attorneys for Plaintiff GlobeRanger
Corporation

/s/ Tyler J. Bexley
William D. Sims, Jr.
Texas Bar No. 18429500
bsims@velaw.com
Tyler J. Bexley
Texas Bar No. 24073923
tbexley@velaw.com
Jeremy M. Reichman
Texas Bar No. 24083722
jreichman@velaw.com
VINSON & ELKINS L.L.P.
2001 Ross Avenue, Suite 3700
Dallas, Texas 75201
Tel: 214-220-7700
Fax: 214-220-7776
Attorneys for Defendants Software AG
USA, Inc., and Software AG, Inc.




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                             CERTIFICATE OF SERVICE

I hereby certify that on February 5, 2015, a true and correct copy of the foregoing document
was submitted to the Clerk of the Court of the U.S. District Court, Northern District of
Texas, using the CM/ECF system, and was served upon all counsel that have appeared in
this case through this Court’s electronic filing system.

                                              /s/ David D. Shank
                                             David D. Shank




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